                                   Case 18-12614-KG                 Doc 1        Filed 11/14/18           Page 1 of 13

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                White Eagle General Partner, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  c/o AMS Limited
                                  The Continental Building
                                  25 Church Street, PO Box Hm265
                                  HAMILTON HMAX BERMUDA
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                                                                                  Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       N/A


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 18-12614-KG                Doc 1        Filed 11/14/18            Page 2 of 13
Debtor    White Eagle General Partner, LLC                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5242

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                             Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     Lamington Road Designated Activity Company                   Relationship              Affiliate
                                                 District   Delaware                      When                           Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                    Case 18-12614-KG                Doc 1        Filed 11/14/18              Page 3 of 13
Debtor   White Eagle General Partner, LLC                                                        Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                 Case 18-12614-KG                    Doc 1         Filed 11/14/18             Page 4 of 13


ae~tor   ~/~ite ~a le Genera} Partner, LLC                                                         Case number ~rrknown)
          Name


          Request For Relief, Declaration, and Signatures

WA}2N1NC -• Bankruptcy fraud is a serious crime. Making a false statement in conrreckinn wit{ a bankruptcy case can result in fines up to ~500,ona or
            imprisonment for up to 20 years, or both. 18 U.S.C. §§ 952, 7341, 1519, and 3571.

4'7. pealaration and signature
     of authorized                The debtor requesfs reilef in accordance with tha chapter of title 11, United States Code, specified in this petition.
     representative of debtar
                                  [ have been authorized fo file th€s petition on behalf of the debtor,

                                   have examined the information in fihis petition and have a reasonable belief that the snformation is trued and correct.

                                   declare under penalty of perjury that the faregaing is true and correct.

                                  Executed on         ~~    ~'    c,~ ~ c3
                                                      MM / DD / YYY

                              ~( ~~~ ,                ~'~                                                 Miriam Martinez
                                Signature of authorized repr~sentafive of debtor            ~             Pr(nted name

                                  Title      Chiefi Financial Officer




18. Signature of attorney     X                ~                ..                                         Qate B l f 1~d ?_C~l                            y `.~..
                                                                     _ —                                          MM!C3D!YYYY
                                          ature of attorney

                                  Golir~ R. Robinson
                                  Printed name

                                  Pachulskt Staff Ziehl &Jones L[~P
                                  firm name

                                  919 N. Market Street
                                  'f 7th Flpor
                                  Wilmington, DE 19899
                                  Number, Street, Gity, State & Z!P Gode

                                   Contact phone       302-652-4100                ~maif address      crobinsolt@ps2jl~w.com


                                  5524 D~
                                  E3ar number and State




 Official Form 201                             Voluntary Petition far Non-Individuals Filing for E3ankruptcy                                               page 4
Case 18-12614-KG   Doc 1   Filed 11/14/18   Page 5 of 13
Case 18-12614-KG   Doc 1   Filed 11/14/18   Page 6 of 13
Case 18-12614-KG   Doc 1   Filed 11/14/18   Page 7 of 13
               Case 18-12614-KG        Doc 1      Filed 11/14/18   Page 8 of 13



                               WRITTEN CONSENT OF
                        THE SOLE INDEPENDENT MANAGER
                                          OF
                       WHITE EAGLE GENERAL PARTNER, LLC
                         (a Delaware limited liability company)

       The undersigned, being the independent manager of WHITE EAGLE GENERAL
PARTNER, LLC (the “Company”), pursuant to the Limited Liability Company Agreement of the
Company dated as of May 16, 2014, after consideration of the facts and circumstances relating to
the Company as described by the management of and the advisors to the Company, hereby
consents to, and approves and acknowledges, the foregoing resolutions of the sole member of the
Company, Lamington Road Designated Activity Company, as set forth in that certain Action By
Written Consent of the Sole Member of the Company for the reasons set forth in the foregoing
consents.

     IN WITNESS WHEREOF, the undersigned has duly executed this Written Consent as of
November 14, 2018.



                                            By:
                                                  Michelle A. Dreyer,
                                                  solely in her capacity as Independent Manager
                                                  of White Eagle General Partner, LLC
                                      Case 18-12614-KG              Doc 1       Filed 11/14/18        Page 9 of 13
   Fill in this information to identify the case:

   Debtor name    White Eagle General Partner, LLC
   United States Bankruptcy Court for the:   District of Delaware
                                                                           (State)
                             18-                                                                                                          Check if this is an
   Case number (If known):
                                                                                                                                          amended filing




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
 Unsecured Claims and Are Not Insiders                                                                                                                  12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims, on a consolidated basis.


 None [check if applicable]
 Name of creditor and complete mailing Name, telephone number, and     Nature of the       Indicate if     Amount of unsecured claim
 address, including zip code           email address of creditor       claim               claim is        If the claim is fully unsecured, fill in only unsecured
                                       contact                         (for example,       contingent,     claim amount. If claim is partially secured, fill in total
                                                                       trade debts, bank   unliquidated,   claim amount and deduction for value of collateral or
                                                                       loans,              or disputed     setoff to calculate unsecured claim.
                                                                       professional
                                                                       services, and
                                                                       government
                                                                       contracts)                          Total claim, if   Deduction for     Unsecured claim
                                                                                                           partially         value of
                                                                                                           secured           collateral or
                                                                                                                             setoff
                                                                                                                                               



                                                                                                                                               



                                                                                                                                               



                                                                                                                                               



                                                                                                                                               



                                                                                                                                               



                                                                                                                                               




DOCS_SF:98204.1
                  Case 18-12614-KG       Doc 1    Filed 11/14/18      Page 10 of 13



                         IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE

In re:                                                Chapter 11

WHITE EAGLE GENERAL PARTNER, LLC,                     Case No. 18-_____ (___)

                               Debtor.

                   CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)


               Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges
to evaluate possible disqualification or recusal, the Debtor, certifies that the following is a
corporation other than the Debtor, or a governmental unit, that directly or indirectly owns 10% or
more of any class of the corporation’s equity interests, or states that there are no entities to report
under FRBP 7007.1.


 None [check if applicable]

           Name:           Lamington Road Designated Activity Company
           Address:        Grand Canal House
                           2nd Floor Palmerston House
                           Fenian Street
                           Dublin 2
                           Ireland




DOCS_SF:98204.1
                  Case 18-12614-KG      Doc 1    Filed 11/14/18     Page 11 of 13



                         IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF DELAWARE

In re:                                              Chapter 11

WHITE EAGLE GENERAL PARTNER, LLC,                   Case No. 18-_____ (___)

                              Debtor.


                            LIST OF EQUITY SECURITY HOLDERS


Following is the list of the Debtor’s equity security holders which is prepared in accordance with rule
1007(a)(3) for filing in this Chapter 11 Case:



  Name and Last Known Address or             Security       Number of          Kind of Interest
    Place of Business of Holder               Class         Securities
Lamington Road Designated Activity
Company
Grand Canal House
2nd Floor Palmerston House                                                   100% ownership
Fenian Street
Dublin 2
Ireland




DOCS_SF:98204.1
                  Case 18-12614-KG     Doc 1   Filed 11/14/18    Page 12 of 13



                      IN THE UNITED STATES BANKRUPTCY COURT

                            FOR THE DISTRICT OF DELAWARE

In re:                                            Chapter 11

WHITE EAGLE GENERAL PARTNER, LLC,                 Case No. 18-_____ (___)

                             Debtor.

                        CERTIFICATION OF CREDITOR MATRIX


               Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure
for the United States Bankruptcy Court for the District of Delaware, the above captioned debtor
(the “Debtor”) hereby certifies that the Creditor Matrix submitted herewith contains the names
and addresses of the Debtor’s creditors. To the best of the Debtor’s knowledge, the Creditor
Matrix is complete, correct, and consistent with the Debtor’s books and records.

                The information contained herein is based upon a review of the Debtor’s books
and records as of the petition date. However, no comprehensive legal and/or factual
investigations with regard to possible defenses to any claims set forth in the Creditor Matrix
have been completed. Therefore, the listing does not, and should not, be deemed to constitute:
(1) a waiver of any defense to any listed claims; (2) an acknowledgement of the allowability of
any listed claims; and/or (3) a waiver of any other right or legal position of the Debtor.




DOCS_SF:98204.1
                                Case 18-12614-KG                           Doc 1         Filed 11/14/18       Page 13 of 13




oebtor name        White Ea~1e Ceneraf Partner, ~~.0

United States Bankruptcy Court fnr the: DiSTF:IC'i' OF C7ELAWAIZE

C~Se number {if known)
                                                                                                                                   Q Check if Ehis Is an
                                                                                                                                     amended filing



Official Form 202
Declara~idn Under penalty o~F Perjury for Non-lndividua~! Debtors                                                                                          ~2~~~
                                                                                                                                  submit this
An individual who is autioarized to act on behalf of anon-individual debtor,such as a carparatian or partnership, must sign a»d
                                                  any other dpcl~ment that requires a dect~ratEon that[s not included in the document, and any
form far the schedules of assets and liabilities,                                                                                  document,
amendments of those dacuments. This form must state the individuaPs prssitian ar relationship to the debtor, the identify of the
and the date. Bankruptcy Rules 1008 and 9011,
                                                                                                                      or properly by #raud in
WARNING -- Bankruptcy fraud is a serious crime. Making a fa{se statement, concealing property, or obtaining moneyU.S.C.
connection with a bankruptcy case can result in fines up to $SOO,OUO or imprisanmer~t fnr up to 20 years, or both. 18       §§ 152, 13A~1,
9819, and 3571.


                Declaration aad signature

                                                                                                                                        or
       i am the president, another o~cer, or an authorized agent of Ehe corporation; a member or an authorized agent of the partnership; another
       IndivlduaE serving as a representative of the debtor in fhis case,
                                                                                                                                      correct:
         have examined the information in the documents checked below and t have a reasonable belief that the information is true and

        ❑         Schedule A/8: Assets—f2e~/ and F'ersonaJ Property(O~cial Form 246AlB)
        Q         Schedule D: Creditors Who Nave Giairns Secured by PrapeRy(O~iciai dorm Z06t3}
        p         Schedule ~/~; Creditors Who Have Unsecured Clalms(b~cial dorm ~06E/F)
        p         Schedule G: Executory Confr~cts and Unexpired Leases{O~cia( dorm 206G)
        ❑         Schedule H; Codebtors (Official Form 206H)
        Q         Summary of Assets and Liabilities far Non-Individuals (gfficial Form 206Sum)
        Q         Amended Schedule
                                                                                                                                                20a)
        ~         Ct~apfer 11 or Chapter9 Casesr Llst of Creditors Who Have the 20 Largest Unsecured Claims and Are Not insiders (Official Form
        ~         Other document that requires a declaration    Corporate Ownership Sta4emerst, List of equity Holders, Creditor Matrix
                                                                Certification

        I declare under penalty of perjury that the foregoing is true and correct.

         Executed on           f~!               ~                   X      / Is(r,.(„~,,,,
                                                                                                        on

                                                                         Miriam Martinez
                                                                         Feinted name

                                                                         Chief Financial Officer
                                                                         Position or relationship to debtor




 Officla! Farm 202                                            t7ecl~ration Under Penalty of Perjury far Non-tnctividuai t~ebtars
                                                                                                                                                 Best Caso Bankruptcy
 Softwaro Copyright(c)199G-2098 Best Case, 41.0 -w~w+.bestcase.com
